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                    UNITED STATES COURT OF APPEALS
                           FOR THE NINTH CIRCUIT
              Form 1. Notice of Appeal from a Judgment or Order of a
                            United States District Court
 Name of U.S. District Court:                 Central District of California

 U.S. District Court case number: 2:19-CV-10374-SB-E

 Date case was first filed in U.S. District Court: 05/29/2019

 Date of judgment or order you are appealing:                       03/22/2021
 Fee paid for appeal? (appeal fees are paid at the U.S. District Court)
    Yes         No           IFP was granted by U.S. District Court

 List all Appellants (List each party filing the appeal. Do not use “et al.” or other abbreviations.)
   Plaintiff Thimes Solutions, Inc.




 Is this a cross-appeal?          Yes           No
 If Yes, what is the first appeal case number?

 Was there a previous appeal in this case?                      Yes           No
 If Yes, what is the prior appeal case number?

 Your mailing address:
 Gaw | Poe LLP

 4 Embarcadero Center, Suite 1400

 City: San Francisco                           State: CA               Zip Code: 94111

 Prisoner Inmate or A Number (if applicable):

 Signature       /s/ Randolph Gaw                                        Date Apr 20, 2021
      Complete and file with the attached representation statement in the U.S. District Court
                     Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

 Form 1                                                                                          Rev. 12/01/2018
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                      UNITED STATES COURT OF APPEALS
                           FOR THE NINTH CIRCUIT
                         Form 6. Representation Statement
      Instructions for this form: http://www.ca9.uscourts.gov/forms/form06instructions.pdf
 Appellant(s) (List each party filing the appeal, do not use “et al.” or other abbreviations.)
 Name(s) of party/parties:
 Plaintiff Thimes Solutions, Inc.


 Name(s) of counsel (if any):
 Randolph Gaw, Mark Poe, Victor Meng



 Address: Gaw | Poe LLP, 4 Embarcadero, Suite 1400, San Francisco, CA 94111
 Telephone number(s): 415-766-7451
 Email(s): rgaw@gawpoe.com; mpoe@gawpoe.com; vmeng@gawpoe.com
 Is counsel registered for Electronic Filing in the 9th Circuit?                            Yes        No

 Appellee(s) (List only the names of parties and counsel who will oppose you on appeal. List
 separately represented parties separately.)
 Name(s) of party/parties:
 Defendant TP-Link USA Corporation


 Name(s) of counsel (if any):
 Stephen R. Smerek, Tiffany Kim Sung



 Address: Foley&Lardner, 555 South Flower St. Ste 3300, Los Angeles, CA 90071
 Telephone number(s): 213-972-4500
 Email(s): ssmerek@foley.com; tsung@foley.com


 To list additional parties and/or counsel, use next page.
                    Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

 Form 6                                                1                                        New 12/01/2018
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 Continued list of parties and counsel: (attach additional pages as necessary)
 Appellants
 Name(s) of party/parties:
 Plaintiff Thimes Solutions Inc.

 Name(s) of counsel (if any):
 Mark Schlachet


 Address: 3515 Severn Road, Cleveland, OH 44118
 Telephone number(s): 216-225-7559
 Email(s): markschlachet@me.com
 Is counsel registered for Electronic Filing in the 9th Circuit?                               Yes     No
 Appellees
 Name(s) of party/parties:
 Defendant Auction Brothers, Inc. d/b/a Amazzia

 Name(s) of counsel (if any):
 Alton G. Burkhalter, Joshua A. Waldman


 Address: Burkhalter Kessler, 2020 Main St., Suite 600, Irvine, CA 92614
 Telephone number(s): 949-375-7500
 Email(s): aburkhalter@bkcglaw.com; jwaldman@bkcglaw.com
 Name(s) of party/parties:



 Name(s) of counsel (if any):



 Address:
 Telephone number(s):
 Email(s):
                   Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

 Form 6                                               2                                         New 12/01/2018
